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                      IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF COLORADO

 JAY CONNOR, individually and on                   Case No. 1:24-cv-02286
 behalf of all others similarly situated,


                       Plaintiff,                  JURY TRIAL DEMANDED
        v.                                         CLASS ACTION
 SERVICEQUIK INC. d/b/a
 ZING BUSINESS MANAGEMENT
 SOFTWARE


                       Defendant.

             REPLY IN SUPPORT OF MOTION FOR ANTI-SUIT INJUNCTION

      Plaintiff Jay Connor, by and through the undersigned counsel, submits this reply

in support of his motion for an anti-suit injunction to prevent Defendant ServiceQuik Inc.

(“Defendant”) from continuing with its motion in the South Carolina state court. The

Defendant’s arguments in opposition mischaracterize both the applicable legal standard

and the significance of the Mey decision, which aligns squarely with this case.

Defendant’s actions in South Carolina seek to undermine this Court’s jurisdiction and

improperly seek to impose res judicata effects on Plaintiff’s pending claims.

      In filing for an anti-suit injunction, Plaintiff has sought a remedy necessary to

protect this Court’s jurisdiction over his claims under the TCPA and SCTPPA. Plaintiff

dismissed the South Carolina action without prejudice specifically to assert these claims

in a proper federal venue. The Defendant, dissatisfied with this dismissal, has now

engaged in a transparent maneuver to have the state court “re-open” and impose a res

judicata effect on claims pending before this Court. Granting the motion is therefore
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essential to prevent interference with this Court’s jurisdiction and to ensure that

Plaintiff’s, and the class’s, claims against Defendant proceed in this forum.

                                         ARGUMENT

1. Defendant Does Not Apply the Appropriate Legal Standard

       The All Writs Act and the Anti-Injunction Act together provide that federal courts

may issue injunctions to protect their jurisdiction or to prevent interference by state

courts. Contrary to Defendant’s focus on the so-called “importance” of its South

Carolina motion, the proper standard under the Anti-Injunction Act is whether the

injunction is “necessary in aid of [this Court’s] jurisdiction.” Atlantic Coast Line R. Co. v.

Bhd. of Locomotive Engineers, 398 U.S. 281, 295 (1970). The Anti-Injunction Act does

not permit this Court to enjoin state proceedings solely based on convenience, but it

does allow for such an injunction where the state action, as here, threatens to “seriously

impair the federal court’s flexibility and authority to decide that case.” Id. Courts

routinely issue anti-suit injunctions where, as here, a state court proceeding jeopardizes

the federal court’s ability to adjudicate the matter. See Mey v. Pintas, No. 5:24-CV-55,

2024 WL 2814701, at *5 (N.D.W. Va. May 17, 2024).

       Defendant’s response in opposition to this motion fails to meaningfully engage

with the “necessary in aid of jurisdiction” standard set forth by Atlantic Coast Line. By

failing to address this standard, Defendant implicitly acknowledges that its South

Carolina motion does indeed pose a risk of interference. Instead, Defendant insists that

its motion in South Carolina is “important” and posits that the Plaintiff was “dissatisfied”

with the South Carolina state court. However, the importance of a state proceeding, nor




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the Plaintiff’s dissatisfaction, are recognized exceptions under the Anti-Injunction Act,

which focus instead on preventing interference with federal jurisdiction.

       Defendant’s reliance on South Carolina case law and its reference to the

“importance” of its motion there does not meet the federal standard for opposing an

injunction of state court proceedings. State standards of relevance or importance have

no bearing on the ultimate question of whether an anti-suit injunction is necessary in aid

of federal jurisdiction. Defendant’s emphasis on South Carolina’s interests in deciding

its motion is misplaced; federal courts are empowered to protect their jurisdiction,

especially in cases where a federal statute like the TCPA is at issue. The lack of any

substantive response to the proper federal standard reveals the weakness of

Defendant’s position, and the Court should construe it as further evidence of its intent to

frustrate federal jurisdiction.

       Defendant’s motion in South Carolina threatens precisely the type of interference

the All Writs Act and Anti-Injunction Act seek to prevent by potentially preempting

Plaintiff’s TCPA claims and depriving this Court of its rightful jurisdiction, just as in Mey.

The legal reasoning articulated in the Mey decision illustrates this principle well. In Mey,

the federal court found it necessary to issue an injunction precisely because the state

court’s putative interests did not outweigh the federal court’s need to maintain

jurisdiction over a federal claim. Here, too, the federal interest in enforcing TCPA claims

supersedes any state procedural concerns, and Defendant’s arguments to the contrary

are an improper attempt to avoid accountability under federal law and divest this Court

of its own jurisdiction.




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2. Mey v. Pintas Is Directly Applicable

       Defendant dismisses Mey v. Pintas as irrelevant, despite its direct relevance. In

Mey, a federal plaintiff was faced with a prior retaliatory state court action designed to

impede the federal court’s jurisdiction over later-filed TCPA claims. The federal court

issued an anti-suit injunction, reasoning that the state action would interfere with the

federal claims and noting the defendant’s bad faith in filing in a jurisdiction with no real

connection to the case. Like the defendants in Mey, Defendant here is attempting to use

state court proceedings to obstruct federal jurisdiction.

       In this case, Plaintiff voluntarily dismissed the South Carolina action to pursue

TCPA claims on behalf of a class in this federal forum. Indeed, the motion for summary

judgment filed by the defendant was admittedly filed after the dismissal was entered in

the case. Defendant’s attempt to re-litigate issues through a state court summary

judgment motion is a thinly veiled attempt to undermine the federal class action now

pending here. By reopening a dismissed case in state court, Defendant seeks to

prevent this Court from adjudicating claims expressly designed by Congress for federal

adjudication under the TCPA.

       Defendant also misinterprets the circumstances of Mey in an attempt to

distinguish its applicability here, but it identifies distinctions without differences. The

Puerto Rican court in Mey explicitly held that it did, in fact, enjoy personal jurisdiction

over Mey and that the complaint was appropriately made in Spanish. In fact, discovery

was proceeding in that matter at the time the injunction was granted. Mey retained

Puerto Rican counsel conversant in the language in an attempt to challenge the case on

jurisdictional grounds, but those efforts were unsuccessful. In any event, jurisdiction is a


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non-issue here, as the defendant is headquartered and has its principal place of

business in Colorado.

       That the bad faith in Mey arose out of a perception that the action was a SLAPP

action is also of little consequence. It is evident that the Defendant here is nevertheless

attempting to further improper purposes by continuing the state court action in South

Carolina by attempting to reopen a case that had already been voluntarily dismissed,

and attempting to seek a judgment on the merits, which would have res judicata effect.

Nor are the Plaintiff’s actions untoward. Nothing about what the Plaintiff did was

procedurally or substantively improper: South Carolina state law permitted him to seek

to dismiss the case, and the Court granted this dismissal. He did so in order to obtain

counsel and proceed in this case as a putative class action alleging both state and

federal claims, which was promptly filed, and which is currently being litigated. Because

that interest is the same as one in Mey, and one that the usages and principles of the

law permit, this Court should grant the requested injunction.

3. The Balance of Equities Favors an Injunction

       The balance of equities weighs heavily in favor of Plaintiff. Allowing Defendant’s

motion to proceed in South Carolina would irreparably harm Plaintiff’s right to pursue his

unpled TCPA claims in federal court, as Congress permitted. Defendant has chosen to

relitigate a dismissed action in a transparent effort to avoid federal adjudication of

Plaintiff’s and the class’s pled and unpled claims. Given that Defendant suffers no real

prejudice by proceeding here, the balance of equities tips decisively in Plaintiff’s favor.

       In any event, the Plaintiff was not “dissatisfied” with the state court proceedings,

a standard that finds no support in the black letter law or an equities analysis. Surely the


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Plaintiff in Mey was “dissatisfied” with the fact that she was being sued in a state court

action against her will for asserting TCPA claims. Here, the Defendant is essentially

forcing the Plaintiff to litigate on two fronts in an even more egregious example of

gamesmanship by attempting to reopen a closed state court action, a textbook action

that cries out to this Court for an injunction in aid of its jurisdiction. In any event, what

the Plaintiff did was entirely proper. He identified an existing but yet-unpled federal

claim, was interested in representing a class of individuals similarly situated, sought and

obtained the requisite dismissal in state court, sought counsel who would be interested

in representing him and the class, who then filed suit.

       Even so, throughout the discovery process in state court, Plaintiff took

reasonable and proactive steps to ensure all relevant information would be available to

Defendant and to seek the same from the Defendant. Plaintiff’s efforts to obtain critical

documentation, including correspondence with third-party messaging providers, were

necessary to allow a comprehensive deposition, but he did not receive them in advance

of the state court deposition at issue, leading to its cancellation. Plaintiff attempted to

address these discovery deficiencies with opposing counsel two days before the

deposition, emphasizing the importance of the missing information. Defendant

responded, stating they expected the deposition to proceed as scheduled and

“guessed” the information would be provided beforehand. This vague assurance left

Plaintiff with an unclear timeline for receiving the materials, and when the materials still

had not been provided the night before the deposition, Plaintiff proposed rescheduling

the deposition until the requested documentation was provided.




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       Plaintiff explicitly communicated that reviewing the missing correspondence and

billing information would allow for a thorough deposition and effective case preparation,

particularly given the potential involvement of third parties. Plaintiff’s communication

was transparent, reflecting an intent to receive the requested materials promptly and to

proceed once adequately prepared. Plaintiff even proposed coordinating the deposition

with other related inquiries to maximize efficiency for both parties. Despite these efforts,

Defendant delayed the production of crucial documentation until July 2, 2024, at which

point the documents revealed Defendant’s failure to scrub numbers as required by law.

This revelation validated Plaintiff’s initial concerns and, coupled with Defendant’s

counsel’s very own recommendation to Plaintiff on the same day for Plaintiff to consider

hiring counsel, prompted the instant course of action.

       An injunction here would uphold essential principles of federalism by reinforcing

the federal court’s authority to adjudicate federal claims. The TCPA was enacted to

create uniform enforcement standards for telemarketing practices across the United

States, underscoring the importance of federal court oversight. Permitting state

interference with these federal proceedings, which were not even raised at the state

court, would undermine Congress’s intent and weaken federal statutory protections for

consumers. And, as has been alluded to, this Court possesses a strong jurisdictional

interest. The TCPA provides a federal remedy for telemarketing abuses and is explicitly

tailored toward federal-level enforcement, including through the Rule 23 class action

mechanism. Allowing Defendant’s state motion to proceed undermines this Court’s

ability to administer a TCPA claim and risks duplicative and conflicting judgments




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       Moreover, the actually relevant balancing test this Court must apply here shows

that the equities favor the Plaintiff. Plaintiff will suffer irreparable harm if the South

Carolina court proceeds in an ex post facto motion for summary judgment, as any

adverse ruling may carry res judicata effects, preventing this Court from fully

adjudicating the TCPA claims. Defendant can fully litigate all relevant defenses and

arguments in this federal action. Defendant’s insistence on South Carolina jurisdiction is

therefore unnecessary and dilatory at best and detrimental to jurisdiction at worst.

These factors, on balance, strongly favor the Plaintiff and counsel in support of granting

the requested injunction.



                                        CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that this Court grant the

anti-suit injunction to prevent Defendant from pursuing its motion in the South Carolina

state court and maintaining the status quo of a dismissal without prejudice. The

injunction sought is necessary to protect this Court’s jurisdiction, prevent irreparable

harm to Plaintiff’s federal claims, and uphold the integrity of federal adjudication under

the TCPA.


       RESPECTFULLY SUBMITTED AND DATED this October 31, 2024.

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                             CERTIFICATE OF SERVICE

      We certify that we filed the foregoing via ECF on the below date, which will

automatically send a copy to all attorneys of record on the case.


Dated: October 31, 2024

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